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4
     Attorney for Clarissa A. Ogo
5

6                             IN THE UNITED STATES DISTRICT COURT

7                        FOR THE EASTERN DISTRICT OF CALIFORNIA

8
     UNITED STATES OF AMERICA,                )   Case No.: CR S-04-0374 MCE
9                                             )
                  Plaintiff,                  )   WAIVER OF APPEARANCE PURSUANT TO
10                                            )   RULE 43 OF THE FEDERAL RULES OF
          vs.                                 )   CRIMINAL PROCEDURE; PROPOSED ORDER
11                                            )
     DEVIN T. BROWN and CLARISSA A. OGO,      )
12                                            )
                  Defendants.                 )
13                                            )

14
          Defendant Clarissa Ogo, by her counsel, Robert J. Saria, hereby waives
15
     her personal appearance at the conference scheduled for June 14, 2005 at 8:30
16
     am. pursuant to Rule 43 of the Federal Rules of Criminal Procedure.
17
                                            Respectfully submitted,
18

19   Dated: March 29, 2005                  /s/ Robert J. Saria______________
                                            ROBERT J. SARIA
20
                                            Counsel for Clarissa A. Ogo
21
                                          O R D E R
22
          IT IS SO APPROVED.
23
     Dated:   June 24, 2005
24
                                         __________________________________
25                                       MORRISON C. ENGLAND, JR
                                         UNITED STATES DISTRICT JUDGE
